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 7
 8                 UNITED STATES DISTRICT COURT
 9               SOUTHERN DISTRICT OF CALIFORNIA
10 ESTATE OF KEVIN BROWN by its )           Case No. '15CV1583 DMS WVG
   successor in interest Rebecca Brown, )
11 and REBECCA BROWN, an                )   COMPLAINT FOR:
   individual                           )
12                                      )   (1) Execution of a Warrant Obtained In
                Plaintiffs,             )   Violation of Franks v. Delaware (42
13                                      )   U.S.C. § 1983) (January, 2014)
   v.                                   )
14                                      )   (2) Seizure Of Property Beyond The
   CITY OF SAN DIEGO, a municipal )         Scope Of The Warrant (42 U.S.C. §
15 corporation and MICHAEL              )   1983)
   LAMBERT, an individual, SANDRA )
16 OPLINGER, an individual and          )   (3) Wrongful Detention Of Seized
   DOES 1-50.                           )   Property (42 U.S.C. § 1983)
17                                      )   (4) Wrongful Death (42 U.S.C. § 1983)
                Defendants.             )
18                                      )   (5) Deprivation of Right of Familial
                                        )   Association (42 U.S.C. § 1983)
19                                      )   (6) Execution of a Warrant Obtained In
                                        )   Violation of Franks v. Delaware (42
20                                      )
                                        )   U.S.C. § 1983) (October, 2014)
21                                      )   (7) Intentional Infliction Of Emotional
                                        )   Distress
22                                      )
                                        )   (8) Conversion
23                                      )   (9) Negligence
                                        )   (10) Wrongful Death CCP 377.60
24                                      )
                                        )
25                                      )   JURY TRIAL IS HEREBY
                                        )   DEMANDED PURSUANT TO FRCP
26                                      )   RULE 38
27
28

                                            1
 1         COME NOW Plaintiffs, Estate of Kevin Brown by its successor in interest
 2 Rebecca Brown, and Rebecca Brown as an individual, through their attorneys of
 3 record, and allege and complain as follows:
 4                                       I.
                                GENERAL ALLEGATIONS
 5
           1.     This is an action under 42 U.S.C. § 1983 to redress the deprivation
 6
 7 under color of statute, ordinance, regulation, custom or usage of rights, privileges,
 8 and immunities secured to the plaintiffs by the Fourth, Fifth and Fourteenth
 9 Amendments to the Constitution of the United States. This action involves state
10 law causes of action as well.
11         2.     Jurisdiction is based upon the existence of a federal question, pursuant
12 to 28 U.S.C. §§ 1331, 1343(a)(3) and (a)(4).
13         3.     This Court has supplemental jurisdiction over the pendent state law
14 claims under 28 U.S.C. § 1367(a).
15         4.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Southern
16 District of California because the acts or omissions which form the basis of the
17 Plaintiff’s claims occurred in San Diego County, within the Southern District of
18 California.
19       5.    Plaintiffs have complied with Cal. Gov. Code §§ 800 et seq.
20       6.    At all times relevant to this complaint, Defendants DOES 1-25 were
21 San Diego police officials and other agents of the CITY OF SAN DIEGO. At all
22 times relevant hereto, these defendants were acting in their professional capacity.
23         7.     At all times relevant to this complaint DOES 26 - 50 were official
24
     agents and employees of the County of San Diego. At all times relevant hereto
25
     DOES 26 - 50 were acting in their professional capacity.
26
           8.     Plaintiffs are ignorant of the true names and capacities of DOES 1 - 50
27
     and/or the facts giving rise to their liability and will amend this complaint once
28

                                               2
 1 their identities as well as the facts giving rise to their liability have been
 2 ascertained .
 3         9.      Defendants, including DOES 1 - 50, were the agents, servants and
 4 employees of each other and of the other named defendants and were acting at all
 5 times within the full course and scope of their agency and employment, with the
 6 full knowledge and consent, either expressed or implied, of their principal and/or
 7 employer. Each of the defendants had approved or ratified the actions of the other
 8 defendants, thereby making the currently named defendants herein liable for the
 9
   acts and/or omissions of their agents, servants and/or employees.
10
                                             II.
11
                                        PARTIES
12
          10. Plaintiff Rebecca Brown is a 61 year old resident of the city of Chula
13
   Vista. She is employed as a high school teacher. She had been married to decedent
14
   Kevin Brown for over twenty-one years at the time of his death in October, 2014.
15
          11. Kevin Brown was 62 years old at the time of his death. He was
16
   retired, and had worked as a criminalist for the San Diego Police Department from
17
   1982 to 2002.
18
          12. Kevin and Rebecca Brown placed their property in a living trust
19
   known as the Kevin and Becky Brown Trust on October 24, 2007. The will of
20
21 Kevin C. Brown provided that his estate was to go to the corpus of the trust, to be
22 held and administered as part of the trust. The trustee is Rebecca Brown, who is the
23 sole trustee and beneficiary of the trust.
24         13.     Pursuant to California Probate Code § 8200, the will of Kevin Brown
25 has been filed with the Superior Court on June 11, 2015, as Document No.
26 D54467.
27         14.     Rebecca Brown is the successor in interest entitled to prosecute this
28 action on behalf of the Estate of Kevin Brown.

                                                3
 1         15.   Defendant Michael Lambert is a detective with the Homicide Unit of
 2 the San Diego Police Department, assigned to Cold Case Homicide Unit.
 3         16.   Defendant Sandra Oplinger is an investigator for the District
 4 Attorney’s office assigned to the Cold Case Homicide Unit.
 5       17. Kevin Brown worked as a criminalist in the San Diego Police
 6 Department Crime lab for twenty years, from 1982 until his retirement in 2002.
 7      18. Kevin Brown was a competent technician, but suffered from shyness,
 8 lack of confidence and a fear of public speaking.
 9
          19. All his life, Kevin Brown struggled with depression, anxiety disorder
10
   and insomnia. His family history showed that both his parents and a sibling
11
   suffered from anxiety disorder.
12
          20. In 1992 Kevin and Rebecca Brown began a dating relationship in San
13
   Diego County.
14
          21. They developed a close and loving relationship and married at Lake
15
   Tahoe on August 21, 1993.
16
          22. They remained married for the rest of Kevin’s life, until his death by
17
   suicide on October 20, 2014.
18
          23. In 2002, after 20 years at the San Diego Police Department working as
19
   a criminalist, Kevin retired.
20
21                                          III.

22                                        FACTS

23         24.   Mr. Brown was a criminalist in the S.D.P.D. laboratory at the time the

24 forensic evidence from a murder victim, Claire Hough, was processed in 1984.
25       25. The evidence processed included a vaginal swab received by S.D.P.D.
26 from the Coroner.
27         26.   In late 2012 sixty year old retiree Kevin Brown became the subject of
28 a criminal investigation of the San Diego Police Department (S.D.P.D.) after his

                                             4
 1 DNA was found on a single swab taken from a victim who had been murdered in
 2 1984. The S.D.P.D. claimed that Kevin Brown’s DNA was from a “sperm
 3 fraction.”
 4         27.    The San Diego Police Department has a unit called “Cold Case
 5 Homicide Team,” which began in 1995.
 6      28. This group works closely with the District Attorney’s unit of the same
 7 name. This police unit relies heavily upon DNA analysis of evidence of homicides
 8 from up to forty years in the past.
 9
           29.    The reliability of the DNA analysis is critical to the ability of this unit
10
     to effect arrests, and to the District Attorney’s ability to achieve convictions.
11
           30.    In late 2012, S.D.P.D. analyst David Cornacchia reported that blood
12
     stains on Claire Hough’s Levi’s jeans and of the torn zipper flap on her jeans
13
     contained DNA which belonged to Ronald Clyde Tatro.
14
           31.    Tatro was a registered sex offender, who had been convicted of rape
15
     in Arkansas in 1974, and attempted rape in La Mesa, California in 1985. Tatro died
16
     in 2011 in Tennessee.
17
           32.    Tatro was on parole for the 1974 conviction at the time of Claire
18
     Hough’s murder.
19
           33.    Tatro was a suspect in the 1984 murder of a San Diego prostitute,
20
21 Carol DeFliece.
22       34. Defendant Lambert was aware when he began the renewed

23 investigation of Claire Hough’s death IN 2012 that cross-contamination of DNA
24 due to handler’s contact with evidence post-homicide is a common and well-
25 documented occurrence.
26      35. The likelihood of such cross-contamination is the reason why
27 laboratory technicians in the S.D.P.D. are required to provide DNA exemplars
28 which are stored in a database.

                                                5
 1         36.    Lambert elected not to accept that the DNA results on a single swab
 2 were the result of cross-contamination.
 3         37.    To admit that such cross-contamination occurred could have, in
 4 Lambert’s view, caused the future cold case DNA analyses to be subject to
 5 question, and thus cause peril to future prosecutions.
 6         38.    Even though DNA extracted from blood left on Claire Hough’s
 7 clothing matched that of a convicted rapist, Ronald Tatro, Lambert decided to use
 8 unconstitutional methods to investigate Kevin Brown for a crime he did not
 9
     commit, and to attempt to connect Kevin Brown with Tatro, whom Kevin had
10
     never met nor seen.
11
           39.    Lambert’s tactics included systematically distorting the information
12
     provided to the judge to whom he presented his search warrant request, and
13
     presenting false statements and omitting facts which were of utmost importance –
14
     the fact that the lab technicians dried the swabs containing evidence in open air, in
15
     a common space, without cough guards or other precautions to prevent cross-
16
     contamination; the fact that during the 1980s, the period when the Claire Hough
17
     evidence was in the common area where Kevin Brown worked, the S.D.P.D.
18
     criminalists, including Kevin Brown, commonly used their own blood and semen
19
     samples as known exemplars to verify the efficacy of chemical reagents in the lab.
20
21         40.    Lambert engaged in distortion of Kevin Brown’s past to suggest

22 sexual perversion – that when he was a young, single man he went to strip clubs,
23 took photographs of models in lingerie, and on one occasion was seen leaving a
24 porn shop.
25       41. Lambert ignored and omitted evidence that Kevin Brown’s character
26 was non-violent, and that his friends and associates asserted that he would never
27 have committed the violent murder of a teenage girl.
28         42.    The discovery of Mr. Brown’s DNA presented S.D.P.D. with an

                                               6
 1 institutional dilemma.
 2         43.    If Mr. Brown’s DNA were present as a result of contamination from
 3 contact in the lab, it could call into question the procedures employed by the crime
 4 lab in the years before DNA analysis became prevalent, which would in turn bring
 5 into doubt the reliability of S.D.P.D. DNA analysis of “cold cases.”
 6         44.    This, in turn, could imperil the public acceptance of the Cold Case
 7 Homicide investigation program, which is premised in significant part on the
 8 reliability of DNA test results obtained thirty or more years after the evidence had
 9
     been gathered from the crime scene and the decedent.
10
           45.    Lambert, the lead detective assigned to investigate the homicide of
11
     Claire Hough, the 1984 victim, had the obligation to conduct a fair investigation.
12
     This he did not do.
13
           46.    Instead, he engaged in conduct that violated the constitutional rights
14
     of Kevin and Rebecca Brown.
15
           47.    Aware that Mr. Brown suffered from mental health issues related to
16
     long-standing anxiety disorder and depression, Lambert set out to deliberately
17
     cause pressure and stress to him.
18
           48.    Lambert interviewed witnesses in a misleading and suggestive
19
     manner.
20
21         49.    Lambert was on notice that Mr. Brown was at risk of suicide, based on

22 information Lambert had obtained from seized medical documents, personnel
23 records, interviews with acquaintances of Mr. Brown, and statements from
24 Rebecca Brown and John Blakely, her brother, that Kevin was in danger of
25 committing suicide.
26         50.    Lambert refused to return illegally seized evidence to Mr. Brown, his
27 wife, and his mother-in-law, in order to falsely suggest to him that S.D.P.D. was
28 about to arrest Mr. Brown, and to pressure a man he knew to be suicidal by

                                               7
 1 deliberately violating the law and keeping illegally seized materials.
 2         51.   Lambert’s conduct, which violated clearly established legal norms,
 3 includes the following:
 4         A)    Defendant Lambert obtained a search warrant to search the home and
 5               cars of Mr. and Mrs. Brown by violating the legal requirement that a
 6               warrant be based on truthful evidence. In the declaration for the
 7               search warrant, Lambert, with knowledge of falsity or reckless
 8               disregard for truth or falsity, stated that multiple “swabs” had tested
 9
                 positive for Mr. Brown’s DNA, and quoted the lab director as saying
10
                 that cross-contamination was “impossible.”
11
           B)    Lambert omitted material and important information from his
12
                 application for the search warrant. This information included the
13
                 following: the coroner’s microscopic examination of vaginal smears
14
                 from Claire Hough at the time of autopsy in 1984 was negative for the
15
                 presence of sperm; it was common practice for criminalists including
16
                 Kevin Brown at both the San Diego Police Department and San Diego
17
                 Sheriff’s Office during the 1980's to use their own blood and semen
18
                 samples in the crime lab to verify the effectiveness of forensic
19
                 reagents used in examinations. It was common practice for swabs
20
21               from different cases to be dried in the same location and to be exposed

22               to cross-contamination. Mr. Brown’s examination table was in close

23               proximity to the table of the criminalist charged with examination of

24               the forensic evidence in Ms. Hough’s homicide. Multiple witnesses
25               informed investigators that Mr. Brown’s character was entirely
26               antithetical to that of a violent misogynist.
27         C)    The warrant was overbroad–so much so that any reasonable police
28               officer would have recognized it as such.

                                               8
 1   D)   Lambert seized an enormous quantity of materials beyond even the
 2        scope of the overbroad warrant. These documents included lesson
 3        plans, teaching materials, and childhood memorabilia of Rebecca
 4        Brown; copies of the Constitution, the Declaration of Independence,
 5        the Bible and other religious materials; photographs more than fifty
 6        years old; thousands of childhood photos of Rebecca Brown and her
 7        siblings; hundreds of videotapes of commercially available films;
 8        wedding photos of Mr. Brown’s mother’s-in-law wedding; and
 9
          newspapers from Minnesota from the 1950's. Investigators under
10
          Lambert’s control seized thousands of photos, hundreds of cassettes,
11
          photo albums, and memorabilia. All told, investigators seized
12
          fourteen boxes and four bags of materials and a computer hard drive.
13
          The vast majority of items seized was clearly beyond the scope of the
14
          warrant.
15
     E)   Investigators under Lambert’s direction seized thousands of items that
16
          were, at the time of seizure, manifestly outside the scope of the
17
          warrant and which were therefore, illegally seized. Even after a
18
          thorough review of the seized items, which was completed by March
19
          2014 for the paper documents, and May 2014 for the video and
20
21        computer media, Lambert refused to return the illegally seized items

22        to Mr. Brown or his family. Lambert’s persistent refusal to return

23        items that were clearly beyond the scope of the warrant was motivated

24        by Lambert’s knowledge that Kevin Brown was fixated on the issue of
25        the return of the property, and believed that its continued retention by
26        Lambert presaged for Kevin Brown a false criminal accusation, and
27        abuse in jail pending trial. Knowing of the importance of the
28        property’s return to Kevin Brown’s mental well-being, Lambert

                                       9
 1        deliberately refused to return the wrongfully seized materials in order
 2        to generate stress on Mr. Brown, even at the risk of his suicide.
 3        Lambert knew Kevin Brown was psychologically vulnerable,
 4        suffering from anxiety disorder and depression. Lambert knew that the
 5        retention of the seized property would cause Kevin greater and greater
 6        anxiety and fear, because Kevin believed that even though innocent, if
 7        charged he would be unable to make bail and would be subject to
 8        physical abuse while in jail because of his former employment with
 9
          the Police Department. This fear drove Kevin to suicidal ideation, and
10
          Lambert knew that his continued retention of items, which had no
11
          evidentiary value and should be returned, created a substantial risk
12
          that Kevin Brown would kill himself. Lambert knew that a suicide
13
          could be portrayed as a tacit admission of guilt - which would solve
14
          the S.D.P.D.’s dilemma.
15
     F)   Lambert conveyed false information to witnesses with the expectation
16
          that Mr. Brown would learn of the disclosed information. The ultimate
17
          effect of Lambert’s investigative misconduct was to cause such stress
18
          and pain to Kevin Brown that he became obsessed with the fear that
19
          he would be falsely accused and imprisoned pending trial.
20
21   G)   Even after his death, Kevin Brown was victimized by defendants.

22        After Kevin’s suicide, defendant Oplinger obtained a warrant to

23        search Mr. and Mrs. Brown’s Julian vacation home, located near the

24        site of his suicide in Cuyamaca State Park. Oplinger’s application for
25        this warrant failed to disclose material information: that none of the
26        evidence earlier seized in the first warrant from the home in Chula
27        Vista implicated Mr. Brown in any way; that cross-contamination was
28        almost certainly the cause of the single DNA result; that Kevin Brown

                                       10
 1        had suffered from long standing anxiety disorder and depression; and
 2        that no witness ever had ever seen Kevin Brown with Ronald Tatro,
 3        the convicted rapist whose DNA and blood was found on the victim’s
 4        pants. Oplinger failed to inform the judge reviewing the warrant
 5        application that an intensive investigation had revealed that there was
 6        no evidence that Kevin Brown had ever seen, met or associated with
 7        Ronald Tatro.
 8   H)   After Mr. Brown’s death, S.D.P.D. issued a defamatory press release.
 9
          Among other statements, the press release falsely proclaimed that at
10
          the time of his death, “preparations were being made for Kevin
11
          Brown’s arrest.” The purpose for this press release was to suggest that
12
          Kevin Brown’s suicide was an admission of guilt, and thereby
13
          preserve the reputation of the DNA component of the Cold Case
14
          Homicide program. The S.D.P.D. stated publicly that, with Kevin
15
          Brown’s suicide, the case was now solved.
16
     I)   Lambert even questioned Mr. Brown’s Catholic priest and confessor.
17
          Lambert asked Monsignor Duncanson what Mr. Brown had shared
18
          with him within the sacrament of confession. Despite the clear
19
          provisions of California Evidence Code §§1032, 1033, and 1034
20
21        (“Penitential Communication;” “Privilege of Penitent;” “Privilege of

22        Clergy”), Lambert contravened Mr. Brown’s rights, violating the law

23        and fundamental principles of decency.

24   J)   Both Lambert and Oplinger applied for and obtained warrants to
25        search for evidence pertaining to the homicide investigation of the
26        death of Barbara Nantais, and related evidence pertaining to her
27        boyfriend, James Alt. There was no evidence of any kind, physical,
28        testimonial or forensic, that implicated Kevin Brown in the death of

                                      11
 1                Barbara Nantais who was killed in 1978.
 2         K)     Lambert, and/or someone acting at his behest, did not confine his
 3                deceit to misleading the judge. Lambert told representatives of the
 4                press in August 2014 that S.D.P.D. was trying to locate Ronald Tatro,
 5                and was seeking information from anyone who knew Tatro. Lambert
 6                made these false statements to obtain a press report which he believed
 7                would result in greater stress and pressure on Kevin Brown, by
 8                signaling intense and renewed investigative interest by S.D.P.D.
 9
           52.    This action seeks recompense for the Constitutional violations
10
     Lambert committed and caused: the violation of the home’s privacy, the seizure of
11
     personal possessions unrelated to any crime, Lambert’s wrongful detention and
12
     refusal to return the property for the purpose of causing pain to Kevin and Rebecca
13
     Brown; the causing of the death by suicide of Kevin Brown; the unjustified search
14
     of the Browns’ vacation property, and the consequent loss, and pain to his widow,
15
     Rebecca.
16
           DNA
17
18         53.    DNA technology, as it has developed in the last quarter century, has
19 revolutionized the forensic investigation of crime. By its precision and sensitivity,
20 DNA analysis has enhanced the reliability and accuracy of fact-finding in criminal
21 cases.
22
           54.    To understand the true meaning of a DNA result, however, it is
23
     critical to realize what an analytic result does and does not tell us. DNA analysis
24
     can determine whether contact occurred between the DNA material to be analyzed,
25
26 and the DNA material of other persons.
27
28

                                               12
 1         55.    If proper testing protocols are used, and accurate algorithms
 2 employed, DNA results can provide the proof of identities of DNA profiles in a
 3 biological sample.
 4
           56.    The DNA results cannot determine the precise timing of the contact
 5
     between the DNA of the persons whose profiles are discovered. This is especially
 6
     true when cross-contamination is the cause of the intermixture of multiple persons’
 7
     genetic material, in the DNA.
 8
 9         57.    Forensic analysis of DNA recovered from a crime scene allows us to
10 put a face to the criminal who did harm to the victim. But if the presence of the
11 DNA in the sample is the result of contact or intermixture that occurred, not at the
12 time and the scene of the crime, but at the lab where the genetic sample is tested,
13 the precision and sensitivity of the DNA testing lead not to reliable fact finding and
14
     justice, but to misinterpretation, false accusation and injustice – made even worse
15
     by the scientific aura of infallibility of DNA analysis in the popular mind.
16
17         58.    In the lab, samples can be mislabeled or contaminated with evidence
18 from unrelated crime scenes, or the lab technician’s DNA.
19
           59.    Samples can be inadvertently switched.
20
21         60.    Forensic laboratories commit laboratory errors on a regular basis

22 which can lead to false identification of suspects.
23         61.    Between 2003 and 2007, for example, a study of the Santa Clara
24
     County crime laboratory revealed fourteen instances in which evidence samples
25
     were contaminated with lab workers’ DNA, three in which samples were
26
     contaminated by an unknown person, and six in which DNA from one case
27
28

                                               13
 1 contaminated samples from another. There were three instances discovered in
 2 which DNA samples were accidentally switched.
 3
           62.    A similar study of the Washington State DNA forensic lab resulted in
 4
     similar findings, with contamination from criminalists who worked in the lab being
 5
     the major cause of DNA cross-contamination.
 6
 7         63.    The leading cause of false DNA database matches is cross-
 8 contamination of samples.
 9
           64.    The San Diego Police Department has resisted the transparency
10
     displayed by many other crime labs, which have disclosed the results of audits and
11
     investigations of lab errors. S.D.P.D. has evinced a fierce resistance to admit to
12
     human error and the existence of cross-contamination in its lab.
13
14         65.    The phenomenal improvement of the power of DNA analysis
15 ironically has greatly increased the risk of obtaining a result that is based on cross-
16 contamination which occurs in the laboratory itself.
17
           66.    This is because DNA analysis can now obtain profiles from as little as
18
19 a billionth of a gram of genetic material.
20         67.    DNA results, while precise and accurate, can therefore be misleading,
21 because an infinitesimal quantity of genetic material left by a brush, an inadvertent
22 touch, a sneeze or even a technician speaking in the area of a sample can result in
23 contamination and a test result showing the DNA profile of the lab worker who
24
   accidentally and unintentionally deposited a microscopic residue onto the
25
   questioned sample.
26
27
28

                                                14
 1         68.    The most common problems are cross-contamination by microscopic
 2 traces of unrelated evidence and forensic scientists accidentally mixing their own
 3 DNA with the sample being tested.
 4
           69.    That can happen, for example, when the analyst talks while handling a
 5
     sample, leaving an invisible deposit of saliva.
 6
 7         70.    There exists as well the issue of secondary transfer. In secondary
 8 transfer, there is no direct contact between a person and an object. There is a
 9 transfer of material through an intermediary, which could be another person or an
10 object. For example: Person A shakes Person B’s hand, and Person B then touches
11 the handle of a knife.
12
           71. If secondary transfer occurs, Person A’s DNA could be transferred
13
14 first to Person B’s hand and second to the knife handle. This would mean that even
15 though Person A never actually touched the knife handle, his DNA could be
16 present on it.
17         72.    Scientists have illustrated how easily DNA can transfer within and
18 between items from a crime scene during transport to the lab, in a study involving
19
   objects such as used cigarette butts and bloodied knives.
20
21       73. If a fingerprint were processed using powders and brushes that had

22 been used on other evidence first, it is likely that the brushes and powders were
23 contaminated with other DNA.
24
           74.    Firearms being test-fired by technicians who did not wear gloves can
25
     result in the discovery of the technician’s DNA on the firearms’ surfaces.
26
27         75.    If the medical examiner fails to properly clean his fingernail clippers
28 between bodies, artificial DNA mixtures can be created.

                                               15
 1         76.    Problems arise when evidence or bodies are examined on supposedly
 2 clean laboratory surfaces.
 3
           77.    Thorsten Schwark, at the University Hospital of Schlewswig-Holstein
 4
     in Kiel, Germany, and his colleagues swabbed the shoulders and buttocks of six
 5
     cadavers after they had rested on autopsy tables. They found that four of them were
 6
     contaminated with DNA from bodies that had previously rested on the table – in
 7
     two cases with DNA from more than one person.
 8
 9         78.    Today laboratory analysts wear gloves when handling evidence items.
10
           79.    Today, great care is generally taken to clean scissors, tweezers, and
11
     other utensils between testing items.
12
13         80.    Some items are not cleaned as regularly. It is possible to transfer DNA
14 from an item of evidence to a ruler, and then when the next item of evidence is
15 examined and photographed, the DNA can transfer again from the ruler to this
16 item.
17
           81.    A 2006 study by Poy and Van Oorschot demonstrated an example of
18
19 secondary transfer when a mixed DNA profile was found on a swab taken from an
20 examination magnifying lamp. This profile was searched in the lab’s database. A
21 match was found with a case that had been worked on the bench-top with the
22 magnifying lamp. It was determined that DNA was transferred from the item being
23 examined to the analyst’s gloves and then onto the top of the magnifying lamp.
24
           POLYMERASE CHAIN REACTION (PCR) DNA ANALYSIS
25
26         82.    Polymerase chain reaction (“PCR”) is a technology used to amplify a

27 single DNA segment by generating hundreds of thousands to millions of copies of
28 the particular DNA sequence.

                                              16
 1         83.    PCR was developed by Kerry Mullis, who later won a Nobel Prize for
 2 Chemistry in 1993 for his development of the technique.
 3
           84.    PCR analysis is used in forensic science for DNA identification. The
 4
     technique allows the replication of short DNA segments.
 5
 6         85.    The PCR technique is extremely sensitive. It can detect DNA left on a
 7 surface by the touch of a person’s hand or finger.
 8
           86.    The “Touch DNA” method is named for the technique which analyzes
 9
     cells left behind when assailants touch victims, weapons, or items at a crime scene.
10
11         87.    Touch DNA does not require blood or semen.
12
           88.    It only requires a few cells deposited by the outermost layer of skin.
13
14         89.    The technique of DNA analysis used in this case was PCR.
15
           90.    One of the biggest strengths of PCR for DNA typing is the degree to
16
     which DNA can be amplified.
17
18         91.    Starting with a single DNA molecule, millions or billions of DNA
19 molecules can be synthesized after 32 cycles of amplification. This level of
20 sensitivity allows scientists to extract and amplify DNA from minute or degraded
21 samples and obtain useful DNA profiles.
22
           92.    In this context, the sensitive nature of PCR works in a lab’s favor, but
23
     it can cause problems if great care is not taken to avoid contaminating the reaction
24
     with exogenous DNA.
25
26         93.    Three main categories of exogenous DNA have the biggest impact on
27 DNA-typing laboratories. These are: 1) DNA from the analyst, 2) DNA from other
28

                                              17
 1 samples in the lab, and 3) DNA fragments of the allelic ladder used to determine
 2 the size of amplified alleles.
 3
           PROTOCOLS TO MINIMIZE CONTAMINATION
 4
 5         94.    Precise protocols for handling and testing of genetic materials are
 6 generally now followed in crime laboratories. These include the following:
 7
           A) Dedicated areas close to the laboratories (pre and post PCR) should be
 8
     designated as changing rooms/areas;
 9
10         B) Every laboratory must have its own dedicated equipment/reagents;
11
           C) Every laboratory should have its own dedicated laboratory coats or use
12
     different disposable coats in each laboratory;
13
14         D) Molecular biology grade reagents and consumables must be used;
15
           E) Items to be transferred between laboratories must be decontaminated
16
     prior to movement;
17
18         F) Post PCR rooms should be under pressure or have an airlock space
19 between the lobby and the room itself or be geographically separated from the rest
20 of the laboratory areas;
21
           G) Restricted access to laboratories should be enforced with warning signs.
22
23         H) Every laboratory must have its own cleaning equipment for benches. Pre
24         and post PCR cleaning of the floor must be done with dedicated equipment;
25
           I) Cleaning personnel must be trained to work in laboratory conditions.
26
27         J) Environmental monitoring procedures should be written and records
28 maintained.

                                              18
 1         K) Monitoring can be done by swabbing instruments and benches where
 2 exhibits are examined.
 3
           95.    Today many labs determine the DNA profile of their analysts, so
 4
     contamination with an analyst’s DNA can be detected by the appearance of his or
 5
     her profile in the negative control reaction.
 6
 7         96.    At the S.D.P.D. lab, after it began to do DNA testing in 1992, Kevin
 8 Brown and the other analysts provided DNA for uploading of their profiles into the
 9 CODIS database. The purpose for this was explicitly to allow for determination of
10 whether a DNA test result was the product of lab cross-contamination.
11
           97.    A “reagent blank” control consists of all reagents used during a
12
     sample processing but contains no sample. This control is used to detect DNA
13
14 contamination of the analytical reagents used to prepare the sample for analysis.
15         COMMON PRACTICES IN SAN DIEGO POLICE DEPARTMENT
16 CRIME LAB DURING 1984
17
         98. In 1984, the San Diego police lab was in an upstairs room of the old
18
19 Police Department building on Harbor Drive. In the lab, several desks were located
20 along the walls.
21         99.    In the central area of the lab were tables that were approximately six
22 feet long and three feet wide. These tables, called examination tables, abutted each
23 other.
24
25         100. When criminalists examined evidence, they would place white butcher

26 paper on the tables and examine the evidence, which would be placed on the paper.
27
28

                                                19
 1         101. Up to six criminalists would conduct evidence examinations at the
 2 same time.
 3
           102. A criminalist’s DNA can contaminate evidence from his cough,
 4
     sneeze, or even from microscopic amounts of spittle ejected while speaking.
 5
 6         103. Today, there are pieces of equipment known in labs as “sneeze” or
 7 “cough guards” which are commonly used to prevent evidence from inadvertent
 8 cross-contamination from contact with criminalists.
 9
           104. No such cough guards were used in 1984.
10
11         105. In 1984, when bodily fluids such as saliva, blood, or vaginal
12 secretions from a victim or suspect were to be analyzed, these fluids would be
13 preserved on a swab.
14
         106. In order to prevent the formation of mold, criminalists would place the
15
   swabs in “drying boxes” to dry out.
16
17         107. These drying boxes were approximately the shape and size of a tissue
18 box with lattice work slats to hold the swabs, which were placed with the cotton
19 ends up to dry.
20
           108. The cotton ends were exposed to the open air.
21
22         109. In 1984, neither the San Diego Police Department nor the San Diego
23 County Sheriff’s Department conducted DNA testing at their labs.
24
         110. The San Diego Police Department did not begin testing for DNA until
25
   1992, eight years after Claire Hough’s murder. DNA testing was not yet widely
26
   conducted in police investigations of any jurisdiction in 1984.
27
28

                                             20
 1         111. In 1984, standard forensic testing procedures in cases of possible sex
 2 crimes involved microscopic analysis of fluids for the presence of sperm (both
 3 motile and non-motile); and the testing of fluids for concentrations and amounts of
 4 the enzyme acid phosphatase.
 5
         112. The acid phosphatase testing involved the use of chemical reagents.
 6
   The test protocol required the use of known semen samples to verify that the
 7
   chemical reagents were reacting accurately in detecting semen.
 8
 9         113. In 1984, male lab technicians, including Kevin Brown, at both the
10 S.D.P.D. and the S.D.S.O. labs would commonly use their own semen to test the
11 reagents.
12
           114. Technicians would typically use their own semen as the known
13
14 sample, before testing the unknown samples to be analyzed.
15         115. Some technicians preserved their semen on cotton cloth, which they
16 would then place in envelopes and store for extended periods on the tops of their
17 desks or in desk drawers in the lab.
18
19         116. These envelopes were often not sealed and would frequently be

20 marked as known semen samples.
21         117. As part of the testing procedures, technicians would remove a portion
22 of the known semen sample, cut a piece from the semen-impregnated cloth with
23 scissors, and place the piece of cloth in a vial.
24
25         118. The reagent would be added to the vial, which would then react to the

26 criminalist’s known semen sample by changing color.
27
28

                                             21
 1         119. The technician would then put the scissors in water, cut a piece of the
 2 unknown material with the same scissors, and test using the same reagent to
 3 determine the presence or absence of acid phosphatase.
 4
           120. Because there was no DNA testing in use at the time, the rigorous
 5
     protocols now in effect to avoid cross-contamination of samples were not in use,
 6
     and inevitably there was cross-contamination - i.e. the mixing of genetic material
 7
     having nothing to do with the criminal act with the genetic material taken and
 8
 9 preserved as evidence from the crime scene.
10         121. In the first half of the 1980s, criminalists in the S.D.P.D. lab
11 sometimes did not wear masks or gloves when conducting forensic exams on
12 stains.
13
14         122. Technicians would sometimes handle undergarments with bare hands

15 when conducting forensic tests, causing cross-contamination by leaving the
16 criminologist’s DNA on the garment.
17         123. Even when gloves were used, if they were not changed frequently,
18 cross-contamination from one piece of evidence to another could result.
19
20       124. In this time period, there were no cough guards in the S.D.P.D. lab,

21 allowing exposure by air of the DNA of technicians who sneezed, coughed,
22 breathed or spoke in close proximity to forensic evidence.
23         125. The older the physical evidence in a case, the less likely it is that
24
     proper techniques to avoid contamination of the evidence were exercised by crime
25
     scene personnel and laboratory analysts.
26
27         126. The reason for this is neither ineptitude nor malice. It is simply a
28 result of the rapid evolution of DNA analysis.

                                                22
 1         127. Items which would never have been considered for DNA testing in the
 2 past are now routinely tested by labs across the nation.
 3
           THE DEATH OF CLAIRE HOUGH
 4
 5         128. On August 24, 1984, Claire Penelope Hough, age 14, was found dead
 6 on the beach at North Torrey Pines Road in San Diego. Claire had been strangled.
 7
           129. There was a deep laceration in the front of her neck. Her left breast
 8
     had been amputated.
 9
10         130. The Office of the Coroner of San Diego County performed an autopsy
11 on Claire Hough on the following day, 25 August 1984.
12
           131. The autopsy findings revealed physical evidence of manual
13
     strangulation, blunt force injuries of the face, the wound in the neck and incisions
14
     in the chest.
15
16         132. There was a single deep laceration which cut through the labia majora
17 and upward through the urethra and clitoris.
18
           133. The Coroner’s pathologist analyzed oral, anal and vaginal smears
19
     taken from Claire Hough’s body.
20
21         134. Microscopic analysis of these smears showed no spermatozoa.
22
           135. In addition to the microscopic analysis which showed no sperm, the
23
     Coroner’s Office conducted a test on vaginal, oral and rectal samples for the
24
     presence and level of acid phosphatase.
25
26         136. The results of these tests were consistent with no semen being present.
27
28

                                               23
 1             137. The physical and scientific evidence showed no evidence of sexual
 2 intercourse or semen.
 3
               138. The specific test the Coroner’s Office performed on the vaginal,
 4
     rectal, and oral smears was the acid phosphatase test.
 5
 6             139. Acid phosphatase is an enzyme found throughout the body in both
 7 men and women. It is, however, most highly concentrated in the prostate gland.
 8
               140. The prostate gland has more acid phosphatase than any other body
 9
     tissue.
10
11             141. The acid phosphatase test was used in 1984 to determine whether
12 semen was presumptively present, since the content of acid phosphatase in semen
13 is much higher than in any other bodily fluid.
14
         142. Acid phosphatase can be detected in other biological fluids, including
15
   vaginal secretions.
16
17             143. The acid phosphatase test is a presumptive, not a definitive, test for
18 the presence of semen.
19
          144. To confirm definitively that semen is present, visual detection of
20
   sperm cells is required. However, a high acid phosphatase level is strong evidence
21
   of the likely presence of semen.
22
23             145. The acid phosphatase result in Claire Hough’s case from the analysis
24 of the vaginal swab done by the Coroner’s office was consistent with a result from
25 endogenous vaginal secretions, and was below the cut off level required for a
26 presumptive finding that semen was present.
27
28

                                                  24
 1         146. The level of acid phosphatase was that which would normally be
 2 found in a woman who had not engaged in sexual intercourse with ejaculation.
 3
           147. Oral, anal and vaginal swabs from the body of Claire Hough were
 4
     taken by the Coroner’s Office personnel and one set was given to an S.D.P.D.
 5
     criminalist. At least one other set of swabs was retained by the Coroner’s Office.
 6
     The criminalist, Mr. Gibson, transported these swabs to the S.D.P.D. lab. He then
 7
     air dried the swabs at a work station. Lab employees were in the area and could
 8
 9 walk or stand by the work station where the swabs were drying. The swabs were
10 then stored in the property room, and were removed for testing at a later time.
11         DNA EXTRACTION TECHNIQUE AND THE NECESSITY FOR
12 MICROSCOPIC VERIFICATION OF SPERM.
13
14     148. The DNA analysis conducted by the DNA technician named

15 Cornacchia involves extraction of DNA from cells by “lysing” (using strong
16 chemical detergents), to release DNA from these cells.
17         149. The mix is then placed in a centrifuge and spun. The spinning creates
18 a pellet at the base of the centrifuge, which is referred to as containing the “sperm
19
   fraction.”
20
21        150. In order to ensure that the DNA from the sperm fraction is in fact

22 from sperm cells, however, the analyst must, as part of the test protocol, first verify
23 by a microscopic analysis that he sees sperm cells in the substance to be subjected
24 to lysing and centrifugal spinning.
25
           151. Lambert’s affidavit claims Cornacchia stated that the number of sperm
26
     cells present on the swab was low.
27
28

                                              25
 1         152. If Cornacchia in fact verified by microscopic visualization the
 2 presence of a low number of sperm cells (as opposed to erroneously identifying
 3 epithelial cells as sperm cells) on the S.D.P.D. swab, his finding clearly shows that
 4 contamination of the swab was due to lab contact with an item or area where Kevin
 5 Brown’s semen had been used to test the effectiveness of lab reagents.
 6
           153. This is so because the Coroner’s microscopic examination of the
 7
     vaginal swab of Claire Hough in 1984 showed no sperm cells.
 8
 9         154. The Coroner’s acid phosphatase result showed no presumptive
10 presence of semen.
11
         155. The vaginal swab Cornacchia examined, which had been turned over
12
   to Gibson, the S.D.P.D. lab technician, was air dried and processed in the same lab
13
14 and in the same area where other S.D.P.D. lab techs, including Kevin Brown,
15 tested their own semen as known samples before using the reagents to do other
16 forensic tests.
17         156. If Cornacchia’s statements were true - if there were a low number of
18 sperm cells on the Claire Hough vaginal swab from the S.D.P.D. lab - then the fact
19
   that the vaginal swab in the Coroner’s office showed no sperm on its vaginal swab
20
   strongly confirms that Cornacchia’s finding was the result of the S.D.P.D. swab’s
21
   contact with an area or item in the lab that had touched Kevin Brown’s semen.
22
23        157. These facts - the results of the Coroner’s microscopic analysis (no
24 sperm) and the Coroner’s acid phosphatase result (no presumptive presence of
25 semen) are critical to understand the true meaning of Cornacchia’s finding (if
26 accurate) of a very low number of sperm cells on the S.D.P.D. swab.
27
28

                                             26
 1           158. Those facts show the cause of the DNA result not as sexual
 2 intercourse by Kevin Brown with the underage homicide victim, but a minor and
 3 fleeting contact with a lab surface or implement which caused the presence of a
 4 few sperm cells on the swab.
 5
          159. Absent the disclosure of these known facts, the recitation of the sole
 6
   fact that DNA was from Kevin Brown’s sperm fraction leads to an erroneous and
 7
   devastating conclusion - that Kevin must have had sex with the dead girl.
 8
 9           160. Defendant Michael Lambert wrote the search warrant affidavit for the
10 warrant that was used for the search that occurred at the Browns’ home on January
11 9, 2014.
12
             161. Lambert signed this affidavit under oath on January 3, 2014, at 8:45
13
14 a.m.
15           162. Lambert asserted that he had probable cause to search the Brown’s
16 home at 263 Vista Del Mar Court in Chula Vista, CA; the person of Kevin Brown;
17 a 2011 Ford pickup truck; and a 2008 Honda Civic, both of which were registered
18 to Kevin and Rebecca Brown. Lambert specified, inter alia, these items to be
19
   seized:
20
21       a) a blood sample or mouth swab from Kevin Brown, to be used for DNA

22 testing;
23           b) papers, documents and effects demonstrating dominion and control of the
24
     home;
25
26           c) computing and data processing devices including cell phones, computers

27 and software, data storage media with evidence of monitoring the investigation of
28 the murders of Claire Hough and Barbara Nantais and anything related to the name

                                              27
 1 Ronald C. Tatro;
 2
           d) newspaper articles relating to the murders of Claire Hough and Barbara
 3
     Nantais;
 4
 5         e) written address books, diaries or journals;
 6
           f) S.D.P.D. reports relating to sexual assaults;
 7
 8         g) magazines, videos, files, books or photos depicting teenage or pre-teen
 9 pornography, rape, bondage and sadomasochism;
10
           h) receipts for storage facilities, safety deposit boxes and “Cloud” storage;
11
12         I) photos or media relating to Claire Hough, Barbara Nantais, Ronald Tatro
13 and/or James Alt.
14
           LAMBERT’S ASSERTIONS IN THE AFFIDAVIT
15
16         163. In the affidavit for the search warrant Lambert engaged in a series of
17 deceptive and false statements.
18
           164. Lambert subtly used some phrases which were literally true, but
19
     designed to mislead the judge reviewing the affidavit.
20
21         165. Lambert asserted “Hough had been strangled to death, sexually
22 assaulted, and mutilated.”
23
           166. Claire Hough had been sexually assaulted - but the autopsy showed
24
     that the sexual assault was not sexual intercourse, but violent genital mutilation
25
     with a sharp-edged instrument.1
26
27         1
          Men who sexually violate women by force have commonly mutilated their
28 victims, either because they were unable to maintain an erection, or because violent

                                               28
 1         167. There was no evidence of semen or sperm found in 1984.
 2
           168. Lambert then asserted that in November, 2012, a DNA analysis
 3
     showed Kevin Brown’s sperm on “vaginal swabs” collected from Hough at
 4
     autopsy.
 5
 6         169. Lambert portrayed Kevin Brown as a sexual pervert, albeit with no
 7 fact that differentiated Kevin Brown from many young single men in their thirties:
 8 Kevin Brown went to strip clubs, photographed models in lingerie, made an off-
 9 color remark to a female criminalist, and may have shown a pornographic movie.
10 DNA analyst, Annette Peer, viewed him as “creepy.”
11
           170. Lambert stated that he sought evidence to show that Mr. Brown and
12
     Tatro knew each other, killed Claire Hough in concert, and may have kept in
13
14 contact with each other.
15         171. Lambert stated that he believed Kevin Brown might be keeping sexual
16 assault reports, reports relating to the Hough investigation and that he was
17 following the progress of DNA techniques and the Hough and Nantais
18 investigations.
19
20        172. Lambert stated that he sought these items to find evidence of Kevin

21 Brown’s involvement in the 1984 murder of Claire Hough, Mr. Brown’s
22 knowledge of Ronald Tatro’s involvement in such, and any evidence
23 demonstrating that Kevin Brown was “following” the cases of Claire Hough or
24 Barbara Nantais.
25
           173. The warrant was “an attempt to obtain information to link Brown and
26
27
28 misogyny, not sexual release, was their true motivation.

                                             29
 1 Tatro as the perpetrators acting in concert, in the commission of the sexual assault,
 2 mutilation and murder of Claire Hough”.
 3
           MATERIAL OMISSIONS
 4
 5         174. Lambert’s affidavit omitted material facts, the inclusion of which
 6 would have negated the existence of probable cause.
 7
           175. Lambert failed to provide relevant and critical information, with intent
 8
     to deceive the judge who reviewed the affidavit, and with knowledge of its
 9
     materiality.
10
11         176. These facts included:
12
           A)       In 1984, the Coroner’s office conducted a microscopic examination of
13
                    the smears from the swabs taken from Claire Hough’s vagina. The
14
                    examination was for motile or non-motile sperm. The examination
15
                    revealed no sperm. This fact was noted in the report of M.A. Clark,
16
                    M.D. pathologist for the Coroner who conducted the autopsy of Ms.
17
                    Hough. Lambert, with intent to deceive, did not disclose this result to
18
19                  the judge reviewing the warrant application.

20         B)       The results of the forensic test for acid phosphatase showed 37 m.I.U.
21                  of acid phosphatase on the vaginal swab taken by the Coroner. This
22                  result is consistent with endogenous vaginal acid phosphatase – that
23                  is, the amount of acid phosphatase present in vaginal secretions of a
24
                    woman who has not had sexual intercourse with semen deposited
25
                    within 48 hours before death. This acid phosphatase result is
26
                    consistent with the forensic rule of thumb that less than 50 m I.U. of
27
                    acid phosphatase is not presumptive for the presence of semen.
28

                                                30
 1        Lambert did not disclose to the judge that the acid phosphatase level
 2        was consistent with the absence of semen.
 3
     C)   A test for P30, for the presence of prostate specific antigen, could
 4
          have established whether semen was present in Ms. Hough or on the
 5
          vaginal swab. No test for P30 was conducted.
 6
 7   D)   The autopsy report for Claire Hough did not find that Claire Hough
 8        had been raped or had engaged in sexual intercourse before her death.
 9        It found that there had been a deep laceration from a sharp cutting
10        wound to her genitalia, but no other forensic findings consistent with
11        rape. The cutting of her genitals was certainly a “sexual assault” but it
12        was not the same kind of assault as a rape involving sexual
13        intercourse. Lambert cleverly used the phrase “sexual assault” to
14
          suggest the latter, even though it was contrary to the autopsy findings.
15
16   E)   There was no physical finding at autopsy that sexual intercourse had

17        taken place. All the autopsy findings were to the opposite effect - no
18        sperm, no elevated levels of acid phosphatase, no other physical
19        evidence of sexual intercourse. While the brutal laceration of the
20        vagina was a “sexual assault” of the most vicious kind, Lambert’s use
21        of the term is designed to mislead the court into believing that Ms.
22        Hough was subjected to sexual intercourse with seminal ejaculation,
23        when all the evidence from the autopsy - physical findings,
24        microscopic examination and chemical testing showed the absence of
25        semen, absence of sperm and no evidence of penile penetration.
26
     F)   The mutilation of Ms. Hough’s body reflects vicious misogyny.
27
          Lambert’s previous interviews of witnesses never showed Kevin
28

                                       31
 1        Brown to be a violent or misogynistic person. To the contrary,
 2        witnesses described him as a shy, gentle and awkward person, whose
 3        character was incapable of such viciousness.
 4
     G)   There had been multiple documented instances of contamination of
 5
          forensic samples in the SDPD crime lab. In the year before the DNA
 6
          results in this matter, the SDPD lab found an “unexpected DNA
 7
          result” in which DNA found in a reagent blank sample belonged to the
 8
 9        son of an SDPD analyst who had not been in the lab for a year. This

10        clearly demonstrated DNA contamination in the SDPD lab. The fact

11        of this and numerous other incidences of DNA contamination in the

12        S.D.P.D. lab were deliberately omitted from the affidavit.
13   H)   Mr. Brown’s semen, like that of other male technicians, in the 1980s,
14
          was generally present in the general area in the S.D.P.D. lab where the
15
          vaginal swab was dried and tested. The DNA result was almost
16
          certainly the product of lab contamination, not proof of criminal rape
17
          and homicide. Lambert deliberately omitted from the affidavit the
18
          standard practices of the lab technicians in the years before DNA
19
          analysis was used: that lab technicians, including Kevin Brown, used
20
          their own semen in the lab to validate the accuracy of chemical
21
          reagents; the layout of the testing areas; the drying technique in which
22
          the swab was exposed in open air; and the fact that the analyst’s own
23
          semen samples were regularly kept in the lab area and were used there
24
          to test reagents.
25
26   I)   Lambert quoted Dr. Wagner, the current medical examiner, as opining
27        that the low level of acid phosphatase on the vaginal swab collected
28

                                      32
 1        by the coroner (37 m.I.U.) could be from “pre-ejaculation or an
 2        incomplete ejaculation” or from a full ejaculation with the acid
 3        phosphatase number “still low at the time of collection.” In an attempt
 4        to cover himself, Lambert notes that Dr. Wagner stated that “acid
 5        phosphatase markers lower than 50 m.I.U. is (sic) unreliable.” The
 6        information that a minute amount of DNA of Kevin Brown was on a
 7        swab is consistent with cross-contamination of the single swab which
 8        was tested. Lambert deliberately omitted the critical information that
 9
          the level of 37 m.I.U. is consistent with the endogenous acid
10
          phosphatase level of a woman who has no semen within the vaginal
11
          vault, and that the average level of endogenous acid phosphatase in
12
          women is 38 m.I.U. Lambert misrepresented that acid phosphatase
13
          levels of less than 50 m.I.U. are “unreliable.” These levels are reliable
14
          to demonstrate the absence of semen within the last 48 hours before
15
          Claire Hough’s death.
16
17   J)   Lambert stated an opinion that because no DNA from Kevin Brown
18        was found on Claire Hough’s panty liner, and the only DNA on the
19        panty liner was Claire Hough’s, Claire Hough did not become vertical
20        “after the sexual intercourse with Brown because, if she did, there
21        would most likely be spillage from the seminal fluid from her vagina
22        onto the panty liner.” Lambert omitted to state that leakage of semen,
23        if it in fact were present in the vagina, could have easily occurred
24        without Claire Hough becoming “vertical.” Lambert omitted that
25        Claire Hough was found lying partially on her right side with both
26
          legs flexed at the knee, in a posture which would have, because of
27
          gravity, caused leakage of semen, were it present, onto the panty liner.
28

                                       33
 1                The absence of Kevin Brown’s DNA on Claire Hough’s panty liner is
 2                confirmative both that she had not engaged in intercourse immediately
 3                before her death, and that Kevin Brown’s semen was not in her
 4                vagina. Lambert’s deliberate omission of these facts was to mislead
 5                the Court.
 6
           FALSE OR MISLEADING STATEMENTS IN LAMBERT’S AFFIDAVIT
 7
 8         177. Lambert included false statements in the affidavit for the search
 9 warrant, with knowledge of their falsity or reckless disregard for their truth or
10 falsity.
11
           A)     Lambert stated in his affidavit that Kevin Brown’s DNA, found on
12
                  “swabs” taken from Claire Hough’s vagina was found in the form of
13
14                sperm. Lambert stated that this indicates that Kevin Brown had sexual

15                intercourse with 14 year old Claire Hough. Lambert’s statement that

16                this “indicates that Kevin Brown had sexual intercourse with Claire

17                Hough” was false, or made with reckless disregard given Lambert’s
18                decision to conceal from the Court the practice of S.D.P.D.
19                criminalists including Kevin Brown, to use their own blood and
20                semen as known samples for use in verifying the accuracy of the
21                reagent chemical reactions in the S.D.P.D. lab where the Hough swab
22                was present.
23
           B)     Lambert recited that the San Diego Police Department Lab Manager,
24
                  Jennifer Shen, stated that Mr. Brown had no access to the evidence in
25
                  the Hough murder and that “cross DNA contamination (sic) is not
26
                  possible.” These statements are false. Kevin Brown was working in
27
                  the same lab area as Mr. Gibson, who had retrieved an oral, an anal,
28

                                              34
 1        and a vaginal swab taken from Claire Hough from the Coroner’s
 2        office in August, 1984. Kevin Brown worked in the same room and
 3        was in close proximity to the work area of Gibson, and worked in the
 4        area where the swabs were typically dried.
 5
     C)   Lambert’s claim that “cross DNA contamination is not possible” is
 6
          false. As a general matter, DNA cross-contamination is not only
 7
          possible - it is a forensic fact of life. If the claim is that cross-DNA
 8
 9        contamination is not possible in the case of Claire Hough, that too is

10        manifestly false. Cross-contamination, even in today’s labs, with

11        careful execution of detailed protocols, is possible. In the SDPD lab of

12        1984, when personnel acted without awareness of DNA, and without
13        protocols in place to avoid DNA contamination, cross-contamination
14        was inevitable. Neither Ms. Shen, nor any competent lab manager
15        could or would say that “cross DNA contamination is not possible”.
16        The statement is false; the attribution of the statement to Jennifer Shen
17        is false.
18
     D)   According to the affidavit, San Diego Police Crime Lab Technician
19
          Randy E. Gibson was present at the autopsy on August 24, 1984, at
20
          10:15 a.m. While at the autopsy, Gibson took custody, inter alia, of
21
          one vaginal swab. Lambert states that DNA technician Cornacchia
22
          reported that he developed an unknown male profile from the sperm
23
          fractions “collected from the swabs” which was found to match the
24
          profile of Kevin Brown. Throughout the affidavit, Lambert refers to
25
26        Kevin Brown’s sperm/semen being found on “swabs”. This statement

27        is false, and designed to mislead by suggesting multiple swabs

28        contained Kevin Brown’s DNA. Kevin Brown’s DNA was found on


                                        35
 1        one, and only one, swab.
 2
     E)   There were at least two vaginal swabs taken during the autopsy. Only
 3
          one had DNA associated with Kevin Brown. The false claim that
 4
          Kevin Brown’s DNA was found on “swabs” was deliberately made to
 5
          suggest that the DNA was found not only on the swab stored at SDPD
 6
          with which Kevin Brown would have been in proximity, and which
 7
          had been in the lab where Kevin Brown’s semen samples were
 8
 9        located, but also on the swab(s) from the Coroner’s autopsy, with

10        which he could not have been in contact. Were Kevin Brown’s DNA

11        on the swab in the Coroner’s possession, the likelihood of contact

12        between Kevin Brown and Claire Hough could be established. If
13        sperm were the source of DNA on the swab from the Coroner’s office,
14        then the claim that Kevin Brown had sexual relations with Claire
15        Hough would be forcefully supported. Lambert’s repeated use of the
16        plural “swabs”, made in multiple false statements, was designed to
17        mislead the judge into believing that Mr. Brown must have had sexual
18        relations with 14 year old Claire Hough. The single swab from the
19        S.D.P.D. lab is metamorphosed in Lambert’s affidavit into multiple
20        “swabs”: 1) Lambert states “During the autopsy swabs were taken
21        from Hough’s vagina. Kevin Brown’s DNA was found on those
22        swabs.” 2) “Kevin Brown’s sperm was found on vaginal swabs
23        collected from Hough at autopsy” p. 4; 3) “He [Detective Rydalch]
24        requested the San Diego Police Crime Laboratory to examine the
25        following items collected and impounded during the initial
26
          investigation in this case for DNA belonging to someone other than
27
          Claire Hough: Vaginal Swabs...”; 4)According to David Cornacchia’s
28

                                      36
 1                report dated November 30, 2012, he identified (3) unknown male
 2                DNA profiles on the following four items of evidence: Sperm
 3                fraction: Claire Hough’s vaginal swabs...; 5) According to
 4                Cornacchia, the number of sperm cells present on the swabs was
 5                low...; 6) “During the autopsy swabs were taken from Hough’s
 6                vagina. Kevin Brown’s DNA was found on those swabs.” Each of
 7                these assertions that Kevin Brown’s DNA was found on swabs is
 8                false, and made with intent to mislead. (emphasis added)
 9
10         F)     Lambert stated that he had probable cause to search the Browns’ home

11                and cars for evidence pertaining to the 1978 murder of Barbara

12                Nantais and the beating of her boyfriend James Alt. This was a false
13                statement. Lambert had no evidence of any kind that Kevin Brown
14                was in any way connected to the murder of Barbara Nantais or the
15                beating of James Alt. The absolute lack of any evidence justifying the
16                search of the Browns’ home and cars on this basis made the execution
17                of the warrant illegal, and any reliance on the warrant by Lambert
18                entirely unreasonable.
19
                  178. On Thursday, January 9, 2014, Lambert led a team of
20
     approximately twelve other police officials to execute the search warrant for the
21
     Brown’s home and cars. Lambert seized and authorized the seizure by the others of
22
     many thousands of items that were far beyond the scope of the warrant.
23
24                179. For illustrative purposes, a listing of only a small fraction of the
25 illegally seized items is attached as Exhibit A, and incorporated herein by
26 reference.
27
                  180. On Friday, January 10, 2014, Kevin Brown spoke to defendant
28

                                               37
 1 Lambert at the S.D.P.D. Kevin explained that he did not know Ronald Tatro.
 2
                   181. Kevin told Lambert that he never knew Claire Hough, and
 3
     certainly never killed her.
 4
 5                 182. Kevin told Lambert that the DNA result was the product of
 6 laboratory cross-contamination.
 7
                   183. Kevin Brown explained the configuration of the police lab in
 8
     1984, the method by which swabs were dried, and the manner in which lab analysts
 9
     used their own semen as a known sample to verify the efficacy of chemical
10
     reagents designed to detect acid phosphatase.
11
12                 184. Lambert told Kevin Brown that he did not believe him; that
13 Kevin should confess; and that Lambert did not accept his statements.
14
                185. Witnesses informed Lambert that Kevin Brown was often shy
15
   and easily embarrassed.
16
17                 186. Lambert reviewed Kevin Brown’s San Diego personnel file,
18 which recounted Kevin Brown’s difficulty in testifying, his nervousness,
19 tentativeness and awkwardness in courtroom presentation.
20
                   187. Lambert obtained material in the course of his search which
21
     showed that Kevin Brown had undergone therapy for anxiety disorder and
22
     depression.
23
24         188. Lambert learned that Kevin Brown suffered from insomnia.
25
           189. Lambert learned that Kevin Brown was taking prescription medication
26
     for the treatment of depression.
27
28         190. Kevin Brown, the target of Lambert’s investigation, believed that the

                                              38
 1 return of the wrongfully seized items would signify that he was no longer in danger
 2 of being falsely accused of murder, arrested, and imprisoned pending trial.
 3
           191. Lambert knew that Kevin Brown was at high risk for committing
 4
     suicide.
 5
 6         192. Lambert acted with deliberate indifference and refused to return the
 7 wrongfully seized items for the purpose of causing mental anguish to Kevin Brown
 8 and with knowledge that this wrongful refusal created a likelihood that Kevin
 9 Brown would kill himself.
10
          193. Lambert himself falsely stated to Kevin Brown that Kevin would be
11
   arrested.
12
13         194. Lambert repeated these statements to third parties about arresting
14 Kevin Brown with the intent that these statements be repeated to Kevin Brown to
15 increase his suffering.
16
           195. Lambert made these false statements for the purpose of causing Kevin
17
     Brown to “crack” and with deliberate indifference to the likelihood of Mr. Brown’s
18
19 suicide.
20         196. Lambert’s actions, committed intentionally and with the foreseeable
21 likelihood of causing Kevin Brown to commit suicide, ultimately resulted in Mr.
22 Brown’s suicide.
23
24         197. Rebecca Brown had made repeated requests to Lambert for the return

25 of the seized property.
26         198. Beginning in March 2014, Rebecca Brown spoke to Lambert on
27 several occasions.
28

                                             39
 1         199. Lambert returned only her personal laptop despite her multiple
 2 requests for the release of all of the property.
 3
           200. On June 1, 2014, Rebecca Brown requested the return of her property.
 4
     Lambert put her off, telling her that he was “close to giving all the property back.”
 5
 6         201. Kevin Brown kept a calendar which he would mark off each day,
 7 waiting until the property would be returned.
 8
           202. To Kevin Brown, the return of the property meant that he would
 9
     probably not be falsely accused; to him, the detention of the property meant the
10
     continued likelihood of false accusation, arrest, and detention in custody, which he
11
     greatly feared.
12
13         203. After July 4, 2014 ,Lambert had returned no other property.
14
           204. Lambert continued to hold the property even though a thorough
15
     review of the property had revealed that none of it was relevant to any homicide
16
     investigation.
17
18         205. None of it was probative of guilt of Kevin Brown, and almost all of it
19 was beyond the scope of the warrant and had been illegally seized in the first
20 instance.
21
           206. In July, Lambert put Rebecca Brown off again, saying he would be
22
     done by the end of the month.
23
24         207. At the beginning of August 2014, Rebecca Brown requested the
25 property be returned. Lambert stated that there was an ongoing investigation and
26 refused to return anything.
27
           208. In August 2014, Lambert and/or a person acting at his behest, engaged
28

                                               40
 1 in planting a false item in the San Diego Union-Tribune.
 2
           209. In it, even though Lambert and S.D.P.D. knew that Tatro had been
 3
     dead since 2011, Lambert and/or another caused the article to state that the
 4
     S.D.P.D. was seeking to locate Ronald Tatro, and solicited information from
 5
     anyone who knew Tatro or anyone with whom Tatro associated.
 6
 7         210. In September, 2014, Rebecca Brown asked for the return of her
 8 mother’s belongings. Lambert refused to return any property.
 9
           211. Kevin Brown’s mental state continued to deteriorate.
10
11         212. Lambert, understanding the significance to Kevin Brown of the
12 continued detention of the seized property and desiring to increase stress on Kevin
13 Brown, refused again and again to return property which had been seized illegally,
14 which had been reviewed and found to have no relevance, probative value, or
15 evidentiary significance.
16
         213. Lambert retained the property knowing of the significance its illegal
17
   detention had on Kevin Brown; knowing that it increased anxiety and distress in
18
19 Mr. Brown; knowing that Mr. Brown’s suicide was a foreseeable consequence of
20 the continued illegal detention of the seized items; intending to cause such anxiety
21 with knowledge of its likely results, i.e. Mr. Brown’s suicide.
22         214. On Friday, September 26, Rebecca Brown saw her husband in his bed,
23 groggy, barely able to move, and speaking of a note he had written. The note,
24
   which was on a computer, told Rebecca he wanted to thank her for the last twenty
25
   years.
26
27        215. The note said to thank Monsignor Duncanson, his priest, and Herb
28 Selby, a neighbor and friend.

                                              41
 1         216. Rebecca saw a bullet on the floor.
 2
           217. Rebecca removed a gun from her husband’s possession.
 3
 4         218. Kevin Brown’s brother-in-law was John Blakely. Mr. Blakely is an
 5 attorney. He lived with the Browns during 2014.
 6
           219. John spoke on several occasions with defendant Lambert in 2014.
 7
 8         220. Mr. Blakely conveyed to Lambert the effects Lambert’s actions had
 9 on Kevin Brown’s mental condition, the debilitating effects the continued illegal
10 detention of the seized items had on Mr. Brown’s state of mind, and the likelihood
11 that Mr. Brown would, as a result of the stress engendered by Lambert, kill
12 himself.
13
           221. John Blakely spoke to Lambert in late September, 2014.
14
15         222. John told Lambert that in late April or May, 2014, he had removed
16 two firearms from the home due to his concern about Kevin Brown’s mental state,
17 and fear that Kevin would kill himself.
18
           223. Kevin had talked about suicide, John explained to Lambert.
19
20         224. Thereafter, Mr. Blakely told Lambert Kevin seemed to improve, and
21 John had returned the guns.
22
           225. Because of his renewed concern over Kevin Brown’s well-being,
23
     Blakely said, he had recently confiscated the guns again.
24
25         226. Mr. Blakely told Lambert that Kevin Brown had previously discussed
26 his own suicide.
27
           227. John Blakely told Lambert that Kevin was in a downward spiral, and
28

                                              42
 1 for this reason he was deeply concerned that he would kill himself because of the
 2 stress engendered by Lambert’s actions.
 3
           228. On Wednesday, October 1, 2014, Lambert spoke in person with
 4
     Rebecca Brown. Lambert told Rebecca Brown that he was conducting a “wellness
 5
     check” to make sure of her safety.
 6
 7         229. Rebecca Brown told Lambert that she was not in danger but that
 8 Kevin Brown was not in his right mind and that she was fearful that he would kill
 9 himself.
10
         230. Kevin Brown’s attorney, Gretchen Von Helms, repeatedly
11
   communicated requests for return of property to Lambert through conversations
12
   with S.D.P.D. Detective Lori Adams, and described the desperate mental plight of
13
14 Kevin Brown.
15         231. On October 20, Kevin Brown, unable to control his conduct, and in
16 the grip of an irresistible impulse to end his mental torture, committed suicide,
17 hanging himself from a tree at Cuyamaca State Park.
18
19         232. The day after, October 21, 2014, District Attorney Investigator Sandra

20 Oplinger made an application for the telephonic issuance of a search warrant for a
21 house owned by the Browns located at 34767 Pueblo Drive.
22         233. The warrant authorized a search for “papers, documents and effects
23 tending to show dominion and control; Any computing or data processing devices,
24
   including cellular telephones capable of storing images, smart phones and tablet
25
   devices for evidence of monitoring the progress of the investigation of the murders
26
   of Claire Hough or Barbara Nantais, and anything related to the name of Ronald C.
27
   Tatro or James Alt; Newspaper clippings or print, news related to the murders of
28

                                              43
 1 Clair Hough and Barbara Nantais; San Diego Police Department Crime Case
 2 Reports or Arrest Reports relating to sexual assaults; Receipts for storage facilities,
 3 including off-site storage, safe deposit boxes and Cloud storage; Photographs,
 4 disposable cameras, negatives, photographic film that relate to Clair Hough,
 5 Ronald Tatro, James Alt or Barbara Nantais; and a straw handbag belonging to
 6 Claire Hough.
 7
          234. Oplinger was assigned to the Cold Case Homicide Division.
 8
 9         235. Oplinger, in obtaining the warrant, deliberately omitted material
10 evidence that would have negated probable cause.
11
         236. Oplinger falsely stated that “Kevin Brown’s DNA, his sperm, was
12
   found on Hough’s vaginal swabs.”
13
14         237. While noting that Lambert had obtained a search warrant in January,
15 2014, Oplinger never disclosed to the judge (the same judge to whom Lambert had
16 misrepresented in order to obtain the earlier warrant), that the search of the
17 Browns’ home had resulted in the discovery of no evidence which implicated
18 Kevin Brown in the death of Claire Hough.
19
20         238. Oplinger deliberately omitted the results of the investigation of Kevin

21 Brown from January through October, 2014.
22         239. Specifically, she deliberately failed to state that the investigation
23 showed that no witness had ever seen Kevin Brown in the company of Ronald
24
   Tatro, and despite intense investigative efforts, it was clear that there was no
25
   evidence that Kevin ever met, spoke with or had any association with Tatro, much
26
   less had involvement as Tatro’s confederate in a murder.
27
28        240. Oplinger omitted another critical fact - there was no evidence of any


                                              44
 1 kind, testimonial, physical or scientific, that Kevin Brown was involved in any way
 2 in the death of Barbara Nantais, or the beating of James Alt - which had occurred
 3 in 1978, when Kevin Brown was attending California State University at
 4 Sacramento and living in Sacramento, California.
 5
          241. Oplinger’s sworn oral declaration for a telephonic search warrant was
 6
   infected with the same false statements and material omissions as those which
 7
   tainted Lambert’s January 2014 affidavit.
 8
 9         242. Plaintiff incorporates by reference paragraphs 176 and 177 which set
10 forth the false statements and omissions in the Lambert application, and alleges
11 that Oplinger, with knowledge of falsity or reckless disregard made those same
12 false statements or material omissions in her oral sworn request for a telephonic
13 warrant on October 21, 2014.
14
15         243. Oplinger deliberately omitted revealing the findings from the review

16 of the seized evidence - that there was no evidence seized showing any document,
17 computer entry, or other evidence showing Mr. Brown had monitored the
18 investigation of the death of Barbara Nantais or Claire Hough; no evidence he had
19 any association of any kind with Ronald Tatro; no newspaper clippings or other
20 print news related to Claire Hough or Barbara Nantais; no San Diego P.D. reports
21 related to sexual assaults; and no magazine, video, photo or computer file depicting
22 teen or preteen rape, pornography, bondage or sadomasochism.
23
           244. Oplinger executed the search warrant and illegally seized items from
24
     the Browns’ vacation cottage in Julian.
25
26
27
                                               IV.
28

                                               45
 1                             FIRST CAUSE OF ACTION
 2
     EXECUTION OF A WARRANT OBTAINED IN VIOLATION OF FRANKS
 3
       V. DELAWARE (42 U.S.C. § 1983 ) (BY BOTH PLAINTIFFS AGAINST
 4
                      DEFENDANT LAMBERT AND DOES 1 - 50)
 5
 6         245. Plaintiffs re-allege and incorporate by reference paragraphs 1 through
 7 244 of this complaint.
 8
           246. Lambert and DOES 1 - 50 obtained a search warrant for the search of
 9
     the home of Kevin and Rebecca Brown, and two vehicles that they jointly owned.
10
11         247. Defendants then executed this search warrant, seizing property that
12 belonged to both Kevin and Rebecca Brown.
13
           248. It is clearly established law that a search warrant obtained by the
14
     inclusion of false statements, known to be false, or made with reckless disregard,
15
     or obtained by the omission of material evidence known to the affiant which
16
     negates probable cause, is an invalid warrant.
17
18         249. The warrant Lambert obtained for the January 9, 2014, search of the
19 Brown’s home and vehicles was obtained by such false statements, and deliberate
20 material omissions.
21
           250. The execution of this wrongly obtained warrant violated the Fourth
22
     Amendment rights of Kevin Brown and Rebecca Brown.
23
24         251. This violation of their Fourth Amendment rights under color of state
25 law caused damages, including shock, stress, pain, and suffering.
26
                                          V.
27
28                            SECOND CAUSE OF ACTION

                                              46
 1   SEIZURE OF PROPERTY BEYOND THE SCOPE OF THE WARRANT (42
 2         U.S.C. § 1983) (BY BOTH PLAINTIFFS AGAINST DEFENDANT
 3                             LAMBERT AND DOES 1 - 50)
 4
           252. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
 5
     251 of this complaint.
 6
 7         253. Lambert and DOES 1-50 executed the warrant on January 9, 2014.
 8
           254. Clearly established law permits the seizure of evidence during a
 9
     search, if that evidence is specified as being subject to seizure under the terms of
10
     the warrant.
11
12         255. Instead of seizing evidence specified within the scope of the warrant,
13 Lambert and DOES 1-50 seized thousands of documents and items that were not
14 within the scope of the warrant, and that were manifestly unrelated to the police
15 investigation.
16
          256. The conduct of Lambert and DOES 1-50 was that of an official
17
   executing a general warrant.
18
19         257. As an example of the overbreadth of their seizures, and by way of
20 illustration, attached as Exhibit A is a listing of only a small fraction of the
21 documents and items seized which were beyond the scope of the warrant.
22
           258. Lambert’s and DOES’ actions in illegally seizing possessions not set
23
24 forth in the warrant violated 42 U.S.C. 1983 and the Fourth Amendment, and
25 caused mental and emotional damage to Kevin and Rebecca Brown.
26                                            VI.
27
                                THIRD CAUSE OF ACTION
28

                                               47
 1   WRONGFUL DETENTION OF SEIZED PROPERTY (42 U.S.C. § 1983) (BY
 2    BOTH PLAINTIFFS AGAINST DEFENDANT LAMBERT AND DOES 1 -
 3                                           50)
 4
           259. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
 5
     258 of this complaint.
 6
 7         260. It is clearly established law that the continued detention of illegally
 8 seized items constitutes a Fourth Amendment violation; the detention of items
 9 which may have been seized properly, but which are later determined to be
10 irrelevant to an investigation or prosecution is a wrongful detention.
11
           261. In this case, Lambert and DOES 1 - 50 illegally detained the seized
12
     property of plaintiffs.
13
14         262. This detention occurred from January 9, 2014 until after Kevin
15 Brown’s death.
16
         263. Lambert and DOES refused to return the seized property despite
17
   multiple requests from Plaintiffs and their counsel.
18
19         264. Lambert and DOES refused to return the seized property even though
20 the S.D.P.D. had reviewed all non electronic items by the end of March 2014 and
21 all evidence by late May 2014, and knew that none of the seized materials was
22 evidence of a crime, or relevant to any investigation of Kevin Brown.
23
24       265. The wrongful and prolonged detention of plaintiff’s property violated

25 the Fourth Amendment, and caused damages to Plaintiffs.
26                                           VII.
27
                               FOURTH CAUSE OF ACTION
28

                                              48
 1     1983 WRONGFUL DEATH (42 U.S.C. § 1983) (BY BOTH PLAINTIFFS
 2             AGAINST DEFENDANTS LAMBERT AND DOES 1 - 50)
 3
           266. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
 4
     265 of this complaint.
 5
 6         267. Lambert learned through witnesses and from a conversation with
 7 Kevin Brown that Kevin was deeply affected by the accusation that he was
 8 involved in the death of a young girl.
 9
           268.   Lambert learned as well that Kevin Brown placed a deep symbolic
10
     importance on the return of the items seized from the home in the January 9, 2014
11
     search, and that in Kevin’s perception, the continued detention of those items
12
     meant the likelihood that Kevin would be arrested, held without bail, subjected to
13
14 abuse in jail because of his previous work as an S.D.P.D. employee.
15         269. Lambert understood that the return to Kevin Brown of even some of
16 the seized items would likely result in Mr. Brown’s depression lifting, and the
17 cessation of suicidal thoughts.
18
19         270. Lambert learned from both John Blakely and Rebecca Brown that the

20 continued detention of the seized property was plaguing Kevin Brown, and that
21 Kevin was deeply depressed, and in danger of committing suicide.
22         271. Lambert had decided early in 2014 that Kevin Brown was
23 psychologically vulnerable to pressure and stress.
24
25      272. Lambert decided that he would employ a variety of stratagems to

26 cause Kevin Brown to break.
27         273. These stratagems included causing stress and panic by telling Kevin
28

                                              49
 1 Brown he would arrest him; telling third parties whom Lambert believed would
 2 convey information to Kevin Brown, that Lambert intended to arrest Kevin Brown.
 3
 4
           274. Lambert made these statements even though he did not intend to arrest
 5
     Kevin Brown, and knew that there was no probable cause to effect an arrest
 6
 7         275. Lambert learned that Kevin Brown was at severe risk of suicide
 8 because of Kevin’s personal psychological makeup, anxiety disorder and
 9 depression.
10
          276. Lambert learned that Kevin Brown had evinced suicidal ideation and
11
   that his wife and brother-in-law were deeply concerned that the continued stress
12
   would result in Kevin Brown’s succumbing to an irresistible urge to end his
13
14 torment by suicide.
15         277. Lambert elected to increase the stress.
16
           278. Lambert decided, even though the seized items were exculpatory, and
17
     were required to be returned, that he would refuse despite repeated requests to
18
19 return the wrongfully seized items in order to create the highest possible level of
20 stress on Kevin Brown.
21         279. Lambert acted with knowledge that his refusal to return the seized
22 property, (which under the law he was obligated to return) created a high risk that
23 Kevin Brown would commit suicide, and that Kevin’s suicide was a foreseeable
24
     result of his continued refusal to return the seized property.
25
26         280. With deliberate disregard of the high risk of suicide, Lambert retained

27 and refused to return the property.
28

                                               50
 1         281. He acted with the express purpose of increasing stress and mental
 2 suffering.
 3
           282. His conduct in wrongly seizing property, in wrongly retaining and
 4
     refusing to return property, was a substantial factor in causing the death of Kevin
 5
     Brown.
 6
 7         283. It was clearly foreseeable and was actually foreseen by Lambert, that
 8 his wrongful refusal to return the property would cause Kevin Brown to commit
 9 suicide.
10
          284. Kevin Brown hung himself as a result of an irresistible impulse
11
   triggered by anxiety, depression and pain engendered by Lambert’s wrongful
12
   conduct as set forth in this complaint.
13
14         285.   Defendant Lambert acted unconstitutionally as set forth herein in a)
15 obtaining a warrant through false statements and material omissions; b) executing
16 that warrant in an unconstitutional manner, deliberately seizing thousands of items
17 beyond the scope of the warrant; c) retaining the illegally seized items, and all
18 other items which upon review were clearly neither evidence of, nor fruits of
19
     crime; d) falsely stating to Kevin Brown and others that he intended to arrest Kevin
20
     Brown, even though there was no probable cause for such an arrest; e) illegally
21
     seizing and retaining the property of the Browns and lying regarding arresting Mr.
22
     Brown, for the purpose of causing mental suffering and increased stress to Kevin
23
     Brown with knowledge of the likelihood that the foreseeable result would be Kevin
24
     Brown’s suicide.
25
26         286. Defendant Lambert was aware that his conduct had as a foreseeable
27 consequence, the death by suicide of Kevin Brown. Lambert knew this because a)
28 he had access to seized medical records showing longstanding mental health

                                              51
 1 conditions of anxiety disorder, depression, and insomnia; b) multiple witnesses had
 2 told him of Mr. Brown’s anxiety and stress; c) Rebecca Brown had reported Kevin
 3 Brown’s suicidal ideation and her fears; d) John Blakely reported specific incidents
 4 relating to possible and imminent suicide by Kevin Brown.
 5
          287. Lambert was aware that his continued retention of illegally seized
 6
   evidence would cause Kevin Brown to believe that he would be arrested,
 7
   imprisoned pending trial, and subjected to abuse in the jail facilities because of
 8
 9 Kevin’s previous employment with S.D.P.D.
10         288. Knowing of the likely effects on Kevin Brown with the intent to
11 exacerbate his anxiety and stress, and with the death by suicide of Kevin Brown
12 clearly foreseeable as of October 1, 2014, Lambert deliberately refused the return
13 of seized property to the Browns.
14
15        289. Upon the foreseeable death by suicide of Kevin Brown, S.D.P.D. then

16 announced that the case had been solved, and that preparations were being made to
17 arrest Mr. Brown when he died, even though this statement was not true.
18         290. By acting at minimum with deliberate indifference, Lambert’s conduct
19
     as set forth herein was a substantial factor in causing the death of Kevin Brown.
20
21         291. Kevin’s suicide was the consequence of an irresistible urge to kill

22 himself to escape the pain, constant anxiety and obsessive worry that Lambert’s
23 conduct caused to him.
24
                                            VIII.
25
26                             FIFTH CAUSE OF ACTION

27       DEPRIVATION OF FIRST AND FIFTH AMENDMENT RIGHT TO
28

                                              52
 1      INTIMATE FAMILIAL ASSOCIATION (42 U.S.C. § 1983) (BY BOTH
 2     PLAINTIFFS AGAINST DEFENDANTS LAMBERT AND DOES 1 - 50)
 3
           292. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
 4
     291 of this complaint.
 5
 6         293. Plaintiff Rebecca Brown incorporates by reference the allegations as
 7 previously set forth.
 8
           294. By acting at minimum with deliberate indifference to the reasonably
 9
     foreseeable consequence of suicide, Lambert and DOES 1 - 50 deprived Rebecca
10
     Brown of her right to intimate familial association warranted by the First and Fifth
11
     Amendments of the United States Constitution, and made applicable to the state
12
     entity, San Diego, and its official Lambert through the Due Process Clause of the
13
14 Fourteenth Amendment.
15                                           IX.
16
                               SIXTH CAUSE OF ACTION
17
18         EXECUTION OF WARRANT OBTAINED IN VIOLATION OF
19 FRANKS V. DELAWARE (42. U.S.C. § 1983) (BY REBECCA BROWN
20 AGAINST DEFENDANTS OPLINGER AND DOES 1 - 50)
21
           295. Plaintiffs re-allege and incorporate by reference paragraphs 1 through
22
     294 of this complaint.
23
24         296. On or about October 21, 2014, defendant Oplinger obtained a warrant
25 by the submission of materially false statements and the omission of material facts,
26 with knowledge of falsity or reckless disregard of truth or falsity.
27
           297. Thereafter, on 21 October, 2014, Oplinger and DOES 1 - 50 executed
28

                                              53
 1 the wrongfully obtained search warrant at the home of Rebecca Brown located at
 2 34767 Pueblo Drive, Julian, California and seized items of personal property
 3 belonging to her.
 4
            298. As a result of these actions, Rebecca Brown suffered damage.
 5
 6                                             X.
 7
                              SEVENTH CAUSE OF ACTION
 8
 9   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (STATE LAW
10    CAUSE OF ACTION BY BOTH PLAINTIFFS AGAINST DEFENDANTS
11               LAMBERT, CITY OF SAN DIEGO AND DOES 1 - 50)
12
            299. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
13
     298 of this complaint.
14
15          300. Defendant Lambert and DOES 1 - 50 engaged in outrageous conduct.
16 Lambert abused his position as a law enforcement officer.
17
            301. Lambert knew of decedent Kevin Brown’s susceptibility to emotional
18
     distress.
19
20          302. Lambert acted intentionally and unreasonably with the recognition
21 that his acts, including the illegal seizure and retention of property, the threat of
22 arrest, and the causing of fear, would result in emotional distress and foreseeable
23 suicide.
24
         303. Lambert acted with intent to inflict emotional distress.
25
26          304. Kevin Brown’s reaction was severe emotional distress which caused
27 an irresistible urge to kill himself.
28

                                               54
 1         305. Lambert’s acts as set forth herein and incorporated by reference were
 2 unreasonable and unconstitutional.
 3
           306. Those acts caused Kevin Brown’s suicide, and caused damage, injury,
 4
     loss and harm the Plaintiffs.
 5
 6                                            XI.
 7
                              EIGHTH CAUSE OF ACTION
 8
 9          CONVERSION (STATE LAW CAUSE OF ACTION BY BOTH
10       PLAINTIFFS AGAINST DEFENDANTS LAMBERT, CITY OF SAN
11                               DIEGO AND DOES 1 - 50)
12
           307. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
13
     306 of this complaint.
14
15         308. Lambert’s conduct constituted conversion. Lambert knew that Kevin
16 and Rebecca Brown were the owners with the right to possess the documents and
17 tangible items seized which were seized due to Lambert’s obtaining a warrant
18 through deceit and material omissions, and by seizing items beyond the scope of
19 the warrant.
20
           309. Those actions wrongfully interfered with Plaintiffs’ property and
21
     possessory interests in the property illegally retained by Lambert.
22
23         310. Those actions caused Plaintiffs damages.
24
                                             XII.
25
26                             NINTH CAUSE OF ACTION
27
            NEGLIGENCE (STATE LAW CAUSE OF ACTION BY BOTH
28

                                              55
 1       PLAINTIFFS AGAINST DEFENDANTS LAMBERT, CITY OF SAN
 2                                DIEGO AND DOES 1 - 50)
 3
           311. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
 4
     310 of this complaint.
 5
 6         312. Lambert and DOES 1 - 50 owed a duty of care to Plaintiffs to avoid
 7 inflicting harm on them by violating the standard of care applicable to a peace
 8 officer who is required to comply with the Constitutional constraints on illegal
 9 searches, seizures and detentions of property.
10
          313. Lambert was required to conduct himself in an appropriate and
11
   professional manner to avoid the gratuitous infliction of harm and pain upon the
12
   Plaintiffs set forth herein.
13
14         314. Lambert violated that standard.
15
           315. Lambert’s conduct, in breach of the standard of reasonableness,
16
     caused harm to Plaintiffs.
17
18                                         XIII.
19
                              TENTH CAUSE OF ACTION
20
21         WRONGFUL DEATH (CCP 377.60) (BY BOTH PLAINTIFFS
22 AGAINST DEFENDANTS LAMBERT, CITY OF SAN DIEGO AND DOES 1
23 - 50)
24
           316. Plaintiffs re-allege and incorporate by reference, paragraphs 1 through
25
     315 of this complaint.
26
27         317. Lambert and DOES 1 - 50 by their wrongful, intentional and negligent
28 conduct as set forth herein caused the death by suicide of Kevin Brown.

                                             56
 1         318. Survivor and successor in interest Rebecca Brown is entitled to
 2 compensation for the lost support, services, counsel and consortium of decedent
 3 Kevin Brown, and recompense for the loss of his economic support.
 4
                                              XIV.
 5
 6                                PRAYER FOR RELIEF
 7
           Plaintiffs pray for judgment as follows:
 8
           1) For compensatory general and special damages in an amount in
 9
     accordance with proof.
10
           2) For punitive damages.
11
           3) For reasonable attorneys’ fees, expenses and costs of suit.
12
           4) For any other relief that is just and proper.
13
14                                            XV.

15                                    JURY DEMAND

16         Pursuant to the Seventh Amendment of the U.S. Constitution and Rule 38 of

17 the Federal Rules of Civil Procedure, Plaintiffs demand a jury trial by this action.
18
19 DATED: July 16, 2015                      Respectfully submitted,
20
21                                           s/ Eugene Iredale
                                             Eugene G. Iredale
22                                           Attorney for Plaintiffs
                                             Estate of Kevin Brown and Rebecca Brown
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